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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 910 E MAIN LLC D/B/A QUARTER          CIVIL ACTION NO.__________
 TAVERN; BUBBA’S SALOON, LLC;
 CJD III LLC D/B/A TWISTED TAVERN;
 DOUG MCCARTHY ENTERPRISES INC.
 D/B/A 501; EMERALD BILLIARDS, L.L.C.; DISTRICT JUDGE __________________
 MULLIGAN’S ON THE TECHE, L.L.C.
 D/B/A CANTINA’S DOWNTOWN; MY
 PLACE BAR & GRILL, L.L.C.;
 NAPOLEONS ON THE TECHE, LLC; POOL MAGISTRATE JUDGE ______________
 DO’S SPORTS BAR LLP; SOCO SPORTS
 BAR, LLC; YED ENTERPRISES LLC D/B/A
 DEWEY’S LOUNGE
                                       JURY DEMAND

 VERSUS

 JOHN BEL EDWARDS,
 IN HIS OFFICIAL CAPACITY
 AS GOVERNOR OF THE STATE OF
 LOUISIANA; AND H. “BUTCH”
 BROWNING, JR., IN HIS OFFICIAL
 CAPACITY AS FIRE MARSHAL OF
 THE STATE OF LOUISIANA




         EXHIBIT A
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   DECLARATION OF PLAINTIFF 910 E MAIN 33, LLC D/B/A QUARTER TAVERN

 Ty Boudoin, as owner of 910 E Main 33, LLC d/b/a Quarter Tavern, declares and states as

 follows:

    1. I have personal knowledge of the factual matters alleged in Plaintiffs’ Complaint for

        Declaratory Judgment and Injunctive Relief because I own 910 E Main 33, LLC d/b/a

        Quarter Tavern identified in the Complaint.

    2. I have reviewed Plaintiffs’ Complaint for Declaratory Judgment and Injunctive Relief

        and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

    3. 910 E Main 33, LLC d/b/a Quarter Tavern is a fully licensed bar as defined by the

        Louisiana Office of Alcohol and Tobacco Control (“LATC”).

    4. 910 E Main 33, LLC d/b/a Quarter Tavern was a lawfully existing business and Class AG

        Permit Holder, as defined by LATC, prior to Governor John Bel Edwards’ Stay at Home

        Order issued on March 22, 2020 (33 JBE 2020).

    5. In compliance with Governor Edwards’ Stay at Home Order, 910 E Main 33, LLC d/b/a

        Quarter Tavern closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed

        until the Governor issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5,

        2020.

    6. During Phase 2, 910 E Main 33, LLC d/b/a Quarter Tavern reopened at diminished

        capacity as set forth in 74 JBE 2020 and implemented social distancing measures.

    7. As a result of Governor John Bel Edwards’ Proclamation Nos. 89 JBE 2020 and 96 JBE

        2020 and the enforcement of such order by Defendants, 910 E Main 33, LLC d/b/a

        Quarter Tavern closed for on-premises consumption of drinks and/or food after Sunday,

        July 12, 2020.



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    8. If allowed to remain open during Phase 2, 910 E Main 33, LLC d/b/a Quarter Tavern

        could implement additional precautions and social distancing measures.


 I declare under penalty of perjury that the foregoing is true and correct.

 Executed this _____ day of July, 2020.

 _________________________________
 Ty Boudoin
 Owner of 910 E Main 33, LLC d/b/a Quarter Tavern
 Named Plaintiff




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                    DECLARATION OF PLAINTIFF TWISTED TAVERN

 Cursey J. Douget III, as owner of CJD III LLC d/b/a Twisted Tavern (“Twisted Tavern”),

 declares and states as follows:

    1. I have personal knowledge of the factual matters alleged in Plaintiffs’ Complaint for

        Declaratory Judgment and Injunctive Relief because I own Twisted Tavern identified in

        the Complaint.

    2. I have reviewed Plaintiffs’ Complaint for Declaratory Judgment and Injunctive Relief

        and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

    3. Twisted Tavern is a fully licensed bar as defined by the Louisiana Office of Alcohol and

        Tobacco Control (“LATC”).

    4. Twisted Tavern was a lawfully existing business and Class AG Permit Holder, as defined

        by LATC, prior to Governor John Bel Edwards’ Stay at Home Order issued on March 22,

        2020 (33 JBE 2020).

    5. In compliance with Governor Edwards’ Stay at Home Order, Twisted Tavern closed by

        5:00 p.m. on Monday, March 23, 2020 and remained closed until the Governor issued 74

        JBE 2020, moving Louisiana into Phase 2 on Friday, June 5, 2020.

    6. During Phase 2, Twisted Tavern reopened at diminished capacity as set forth in 74 JBE

        2020 and implemented social distancing measures.

    7. As a result of Governor John Bel Edwards’ Proclamation Nos. 89 JBE 2020 and 96 JBE

        2020 and the enforcement of such order by Defendants, Twisted Tavern closed for on-

        premises consumption of drinks and/or food after Sunday, July 12, 2020.

    8. If allowed to remain open during Phase 2, Twisted Tavern could implement additional

        precautions and social distancing measures.



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 I declare under penalty of perjury that the foregoing is true and correct.

 Executed this 29th day of July, 2020.

 /s/ Cursey J. Douget III
 Cursey J. Douget III
 CJD III LLC d/b/a Twisted Tavern
 Named Plaintiff




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  DECLARATION OF PLAINTIFF DOUG MCCARTHY ENTERPRISES INC. D/B/A 501

 Doug McCarthy, as owners of Doug McCarthy Enterprises Inc. d/b/a "501", declares and states

 as follows:

    1. I have personal knowledge of the factual matters alleged in Plaintiffs' Complaint for

        Declaratory Judgment and Injunctive Relief because I own Doug McCarthy Enterprises

        Inc. d/b/a "501" identified in the Complaint.

    2. I have reviewed Plaintiffs' Complaint for Declaratory Judgment and Injunctive Relief

        and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

    3. Doug McCarthy Enterprises Inc. d/b/a "501" is a fully licensed bar as defined by the

        Louisiana Office of Alcohol and Tobacco Control ("LATC").

     4. Doug McCarthy Enterprises Inc. d/b/a "501" was a lawfully existing business and Class

        AG Permit Holder, as defined by LATC, prior to Governor John Bel Edwards' Stay at

        Home Order issued on March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards' Stay at Home Order, Doug McCarthy Enterprises

        Inc. d/b/a "501" closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed

        until the Governor issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5,

        2020.

     6. During Phase 2, Doug McCarthy Enterprises Inc. d/b/a "501" reopened at diminished

         capacity as set forth in 74 JBE 2020 and implemented social distancing measures.

     7. As a result of Governor John Bel Edwards' Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, Doug McCarthy Enterprises Inc.

         d/b/a "501" closed for on-premises consumption of drinks and/or food after Sunday, July

         12, 2020.



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    8. If allowed to remain open during Phase 2, Doug McCarthy Enterprises Inc. d/b/a

        "501"could implement additional precautions and social distancing measures.


 I declare under penalty ofperjury that the foregoing is true and correct.

 Execute       .„2„5, day of fly, 2020.
 I~f(~VlerCafthy
 Named Plaintiff




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             DECLARATION OF PLAINTIFF MULLIGAN'S ON TECHE, LLC
                        D/B/A CANTINA'S DOWNTOWN

  Jonathon Gibson and Thomas Bourque, as owners of Mulligan's on Teche, LLC d/b/a Cantina's

  Downtown, declares and states as follows:

     1. We have personal knowledge of the factual matters alleged in Plaintiffs' Complaint for

         Declaratory Judgment and Injunctive Relief because we own Mulligan's on Teche, LLC

         d/b/a Cantina's Downtown identified in the Complaint.

     2. We have reviewed Plaintiffs' Complaint for Declaratory Judgment and Injunctive Relief

         and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

     3. Mulligan's on Teche, LLC d/b/a Cantina's Downtown is a fully licensed bar as defined by

         the Louisiana Office of Alcohol and Tobacco Control ("LATC").

     4. Mulligan's on Teche, LLC d/b/a Cantina's Downtown was a lawfully existing business

         and Class AG Permit Holder, as defined by LATC, prior to Governor John Bel Edwards'

         Stay at Home Order issued on March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards' Stay at Home Order, Mulligan's on Teche, LLC

         d/b/a Cantina's Downtown closed by 5:00 p.m. on Monday, March 23, 2020 and

         remained closed until the Governor issued 74 JBE 2020, moving Louisiana into Phase 2

         on Friday, June 5, 2020.

      6. During Phase 2, Mulligan's on Teche, LLC d/b/a Cantina's Downtown reopened at

         diminished capacity as set forth in 74 JBE 2020 and implemented social distancing

         measures.

      7. As a result of Governor John Bel Edwards' Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, Mulligan's on Teche, LLC d/b/a




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         Cantina's Downtown closed for on-premises consumption of drinks and/or food after

         Sunday, July 12, 2020.

     8. If allowed to remain open during Phase 2, Mulligan's on Teche, LLC d/b/a Cantina's

         Downtown could implement additional precautions and social distancing measures.




  I declare under penalty ofperjury that the foregoing is true and correct.

  Executed this        day of July, 2020.

                              _.------
  Jonathon Gibson
  Thomas Bourque
  Named Plaintiff




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            DECLARATION OF PLAINTIFF MY PLACE BAR & GRILL, L.L.C.

  Tanya Abshire, as owner of My Place Bar & Grill, L.L.C., declares and states as follows:

     1. I have personal knowledge of the factual matters alleged in Plaintiffs’ Complaint for

         Declaratory Judgment and Injunctive Relief because I own My Place Bar & Grill, L.L.C.

         identified in the Complaint.

     2. I have reviewed Plaintiffs’ Complaint for Declaratory Judgment and Injunctive Relief

         and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

     3. My Place Bar & Grill, L.L.C. is a fully licensed bar as defined by the Louisiana Office of

         Alcohol and Tobacco Control (“LATC”).

     4. My Place Bar & Grill, L.L.C. was a lawfully existing business and Class AG Permit

         Holder, as defined by LATC, prior to Governor John Bel Edwards’ Stay at Home Order

         issued on March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards’ Stay at Home Order, My Place Bar & Grill, LLC

         closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed until the Governor

         issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5, 2020.

     6. During Phase 2, My Place Bar & Grill, LLC reopened at diminished capacity as set forth

         in 74 JBE 2020 and implemented social distancing measures.

     7. As a result of Governor John Bel Edwards’ Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, My Place Bar & Grill, LLC

         closed for on-premises consumption of drinks and/or food after Sunday, July 12, 2020.

     8. If allowed to remain open during Phase 2, My Place Bar & Grill, LLC could implement

         additional precautions and social distancing measures.




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             DECLARATION OF PLAINTIFF POOL DO’S SPORTS BAR LLP

  Jason Romeo and Jules Roussell, as owners of Pool Do's Sports Bar LLP, declare and state as

  follows:

     1. We have personal knowledge of the factual matters alleged in Plaintiffs’ Complaint for

         Declaratory Judgment and Injunctive Relief because we own Pool Do's Sports Bar LLP

         identified in the Complaint.

     2. We have reviewed Plaintiffs’ Complaint for Declaratory Judgment and Injunctive Relief

         and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

     3. Pool Do's Sports Bar LLP is a fully licensed bar as defined by the Louisiana Office of

         Alcohol and Tobacco Control (“LATC”).

     4. Pool Do's Sports Bar LLP was a lawfully existing business and Class AG Permit Holder,

         as defined by LATC, prior to Governor John Bel Edwards’ Stay at Home Order issued on

         March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards’ Stay at Home Order, Pool Do's Sports Bar LLP

         closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed until the Governor

         issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5, 2020.

     6. During Phase 2, Pool Do's Sports Bar LLP reopened at diminished capacity as set forth in

         74 JBE 2020 and implemented social distancing measures.

     7. As a result of Governor John Bel Edwards’ Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, Pool Do's Sports Bar LLP closed

         for on-premises consumption of drinks and/or food after Sunday, July 12, 2020.

     8. If allowed to remain open during Phase 2, Pool Do's Sports Bar LLP could implement

         additional precautions and social distancing measures.



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  I declare under penalty of perjury that the foregoing is true and correct.

  Executed this _____ day of July, 2020.

  _________________________________
  Jason Romeo
  Jules Roussell
  Named Plaintiff




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                DECLARATION OF PLAINTIFF SOCO SPORTS BAR, LLC

  Lace Maturin, as owner of SoCo Sports Bar, LLC, declares and states as follows:

     1. I have personal knowledge of the factual matters alleged in Plaintiffs’ Complaint for

         Declaratory Judgment and Injunctive Relief because I own SoCo Sports Bar, LLC

         identified in the Complaint.

     2. I have reviewed Plaintiffs’ Complaint for Declaratory Judgment and Injunctive Relief

         and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

     3. SoCo Sports Bar, LLC is a fully licensed bar as defined by the Louisiana Office of

         Alcohol and Tobacco Control (“LATC”).

     4. SoCo Sports Bar, LLC was a lawfully existing business and Class AG Permit Holder, as

         defined by LATC, prior to Governor John Bel Edwards’ Stay at Home Order issued on

         March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards’ Stay at Home Order, SoCo Sports Bar, LLC

         closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed until the Governor

         issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5, 2020.

     6. During Phase 2, SoCo Sports Bar, LLC reopened at diminished capacity as set forth in 74

         JBE 2020 and implemented social distancing measures.

     7. As a result of Governor John Bel Edwards’ Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, SoCo Sports Bar, LLC closed for

         on-premises consumption of drinks and/or food after Sunday, July 12, 2020.

     8. If allowed to remain open during Phase 2, SoCo Sports Bar, LLC could implement

         additional precautions and social distancing measures.




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    DECLARATION OF PLAINTIFF YED ENTERPRISES, LLC (DEWEY'S LOUNGE)

  Yvonne Davis, as owners of YED Enterprises, LLC (Dewey's Lounge), declares and states as

  follows:

     1. I have personal knowledge of the factual matters alleged in Plaintiffs' Complaint for

         Declaratory Judgment and Injunctive Relief because I own YED Enterprises, LLC

         (Dewey's Lounge) identified in the Complaint.

     2. I have reviewed Plaintiffs' Complaint for Declaratory Judgment and Injunctive Relief

         and Exhibits, and all factual allegations contained in the Complaint are true and accurate.

     3. YED Enterprises, LLC (Dewey's Lounge) is a fully licensed bar as defined by the

         Louisiana Office of Alcohol and Tobacco Control ("LATC").

     4. YED Enterprises, LLC (Dewey's Lounge) was a lawfully existing business and Class AG

         Permit Holder, as defined by LATC, prior to Governor John Bel Edwards' Stay at Home

         Order issued on March 22, 2020 (33 JBE 2020).

     5. In compliance with Governor Edwards' Stay at Home Order, YED Enterprises, LLC

         (Dewey's Lounge) closed by 5:00 p.m. on Monday, March 23, 2020 and remained closed

         until the Governor issued 74 JBE 2020, moving Louisiana into Phase 2 on Friday, June 5,

         2020.

      6. During Phase 2, YED Enterprises, LLC (Dewey's Lounge) reopened at diminished

         capacity as set forth in 74 JBE 2020 and implemented social distancing measures.

      7. As a result of Governor John Bel Edwards' Proclamation Nos. 89 JBE 2020 and 96 JBE

         2020 and the enforcement of such order by Defendants, YED Enterprises, LLC (Dewey's

         Lounge) closed for on-premises consumption of drinks and/or food after Sunday, July 12,

         2020.
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     8. If allowed to remain open during Phase 2, YED Enterprises, LLC (Dewey's Lounge)

         could implement additional precautions and social distancing measures.




  I declare under penalty ofperjury that the foregoing is true and correct.

  Executed this 3" -   day of J y, 2020.


  Yvonne Davi
  Named Plainti f




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